      3:15-cv-03533-DCC         Date Filed 11/05/18     Entry Number 86       Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

GEORGE EGAN AND DIANE EGAN,            )
                                       )
      Plaintiffs,                      )
                                       )            CIVIL ACTION FILE
v.                                     )
                                       )            NO. 3:15-cv-3533-DCC
UNITED STATES OF AMERICA,              )
                                       )
      Defendant.                       )
______________________________________ )

           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       COME NOW, the Parties in the above-styled action and file this Stipulation of Voluntary

Dismissal with prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(ii). A proposed

Order is attached as Exhibit “A” for the Court’s consideration.


       This 5th day of November, 2018.

                                                    Respectfully submitted,

                                                    KASSEL MCVEY

                                                    /s/ John Kassel
                                                    John Kassel
                                                    South Carolina Bar No. 2278
                                                    Theile B. McVey
                                                    South Carolina Bar No. 7614

P.O. Box 1476
Columbia, South Carolina 29202
803.256.4242
jkassel@kassellaw.com




                                                1
     3:15-cv-03533-DCC        Date Filed 11/05/18   Entry Number 86      Page 2 of 3




                                                BLASINGAME, BURCH,
                                                GARRARD & ASHLEY, PC


                                                /s/ Lee S. Atkinson
                                                Lee S. Atkinson
                                                Georgia Bar No. 255445
                                                Counsel for Plaintiff

P.O. Box 832
Athens, GA 30603
706-354-4000
Email: latkinson@bbga.com

                                                SHERRI A. LYDON
                                                United States Attorney

                                                /s/ Marshall Prince
                                                Marshall Prince
                                                Assistant United States Attorney
                                                Counsel for the United States

1441 Main Street, Suite 500
Columbia, SC 29201
803/929-3000
Marshall.prince@usdoj.gov




                                            2
      3:15-cv-03533-DCC            Date Filed 11/05/18   Entry Number 86       Page 3 of 3




                                   CERTIFICATE OF SERVICE

        This is to certify that I have on November 5, 2018, served all the parties in this case in

accordance with the notice of electronic filing (“NEF”), which was generated as a result of

electronic filing in this Court.




                                                     /s/ John Kassel
                                                     John Kassel




                                                 3
